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  LNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NE1V YORK
                                                 -----¡---------- x

  MUCHMORES'S CAFÉ, LLC,

                                                       Plaintiff,

                            -agarnst'                                   STIPULATION AND ORDER
                                                                        OF SETTLEMENT AND
                                                                        DTSMISSAL
  THE CITY OF NEW YORK,
                                                    Defendant. 14-cv-05668ß.RMXRER)
                                                                    X



                   \ilHEREAS, ptaintiffMuchmore's Cafe, LLC commenced this action on or about

  September 26,2014, seeking "declaratory and injunctive relief detenrnining the Caba¡et Law to

  be unconstitutional, and enjoining further enforcement of the Caba¡et     Lav/'; and

                   IVHEREAS, plaintiffMuchmore's Café, LLC then filed an Amended Complaint

  on October 27, 2014, seeking "declaratory and injunctive relief determining the Cabaret Law to

  be unconstitutional, and enjoining further enforcement of the Caba¡et     LaC';   arrd


                   \trHEREAS, defendar¡t The City of New York (the "City), by its attorney,

  Zaehary   W. Ca¡ter, Corporation Counsel of the City of New York, filed an answer to       the


  Amended Complaint on November 25,2t14; and

               .   WHEREAS, the City denied the material allegations set forth in the Amended

  Complaint and asserted aflirmative defenses; and

                   \ilHEREAS, rhere was subsequent motion practice by both plaintiffMuchmore's

  Café, LLC and the City, as well as discovery conducted by both parties; and

                   WHEREAS, Local Law 214 of 2017, a bill repealing the Cabaret Law, was

  signed into law by Mayor   Bill   de Blasio on November   27,ZtlV; and
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                  \üHEREAS, the parties and their respective counsel now desire to resolve the

  claims of Muchmore's Café, LLC against the City, including all claims for all attorneys' fees,

  costs and expçnses related to this matter, without admitting any fault or liability and without

  further proceedings; and

                  IT IS HEREBY STIPULATED AII¡D AGREED by and betwCCN thE
  undersigned as follows:

                  l.   The City of New York shall pay Muchmoreos Cafe, LLC the amount of sixty

  thousand dollars ($60,00û.00)       for   attorneys' feeso costs and expenses,       in full and final

  satisfaction of all claims against the City that were raised or could have been raised in this action,

  including claims for attorneys' fees, costs and expenses ("the settlement amount").

                  2, Payment of the settlemeut        amount shall be made by mailing a shesk made

  payable   to   "Muchmore &, Associates PLLC"             in the amowrt of sixf       thousand dollars

  (560,000.0û) to Muchmore's Cafe, LLC's attomeys at Muchrnore               &   Associates PLLC, 217

  Havemeyer Street, 4È Floor, Brooklyn, New         York ll22l.

                  3. The City of New York shall make payúent of the settlement               a¡nount after

  receipt of the following:   l) a fully executed   copy of this Stipulation and Order of Settlement and

  Dismissal so-ordered by the Court;         2)   Releases executed   by Muchmore's Café, LLC           and

  Muchmore    &   Associates PLLC; and 3) Afñdavits of No Liens executed by Muchmore's Cafe,

  LLC and Muchmore & Associates PLLC.

                  4. In   consideration     for the relief detailed in    paragraphs    I   and   2   above,


  Muchmore's Cafe LLC shall voluntarily dismiss the action against the City with prejudice and

  without further costs or fees.




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                     5. In consideration for payment of the settlement          amount, Muchmore's Cafe,

  LLC and its counsel agree to release the City and all                  departments, officials, employees,

  representatives and agents of the Clry,     pgt   and present, in their individual or   official capacities,

  from each and every claim, and any claim for attorneys' fees, costs and expenses, arising from

  the acts and omissions complained of in the Amended Complaint. Muchmore's Cafe, LLC and

  Muchmore       &   Associates PLLC has executed, or       will   execute, Releases to be held by the City,

  which will take effect upon payment of the settlement amount.

                     6. Plaintiff   and its counsel shall execute and deliver to the City's attomey all

  documents necessary to effect this settlement, including, without limit¿tion, a signed Release for

  Muchmore's Cåfé, LLC and Muchmore's & Associates PLLC based on the terms of paragraph 5

  above. The payment set forth above is subject to and conditioned on delivery of such documents

  to the City's undersigned attorney.

                     7.   Nothing contained herein shall be deemed to be an admission by the City that

  it   has   in any manner or way violated the rights of Muchmoreos Café, LLC or the rights of any

  other person or     entþ,   as deñned in the constirutions, statutes, ordinanceso rules or regulations    of

  the United States, the State of New York, or the City of New York or any other ruleso regulations

  or bylaws of any depârtment or subdivision of the City of New York. Nor shall an¡hing

  contained herein be deemed to be an admission by the City tbat Muchmore's Café, LLC is

  entitled to the amount agreed to herein. This Stiputation shall not be admissible in, nor is it

  related to, any other litigation or settlement negotiations.

                     8.   Nothing herein shall constitute a policy or practice of the     Cþ   or be used   as


  evidence of any unongdoing by the City, or any deparhrent, ofücials, employees, representatives




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  and agents of the City, past and present, in their individual or offrcial capacities, in any future

  actions or proceedings.

                 9. This Stipulation    contains all the terms and conditions agreed upon by the

  parties, and no oral agreement entered into at any time nor ariy written agreement entered into

  prior to the excsution of this Stipulation regarding the subject matter of the instant action shall be

  deemed to exist, or     to bind the parties hereto, or to vary the terms and conditions contained

  herçin,

                  10.   The parties have reviewed and revised this Stipulation, and any rule of

  constructio[ by which any ambiguities are to be resolved against the drafting pafy, shall not be

  applied in the interpretation of this Stipulation.

                  I 1. Facsimile execution   of this Stipulation by the undersigned shall     constitute

  original signatures for filing with the Court.

  Dated:         New York, New York
                 January 11. ,2018


  MUCHMORE & ASSOCIATES PLLC                               ZACHARY W. CARTER
  Attomeys for Plaintiff                                   Corporation Counsel of the
                                                           Cþ o,f New York
                                                                    for

  By: Áá        ø.L
  Andrew Muchmore, Esq.                                    Ave Maria Brennan
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  SO ORDERED:



  United Staæs Magistrate Judge Ramon E. Reyes, Jr.



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